       Case 2:14-md-02592-EEF-MBN Document 11357-2 Filed 10/30/18 Page 1 of 2




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2                         UNITED STATES DISTRICT COURT
3
                          EASTERN DISTRICT OF LOUISIANA
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     IN RE: XARELTO                              ) MDL No. 2592
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     (RIVAROXABAN) PRODCUTS                      )
7    LIABILITY LITIGATION                        ) SECTION: L
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                                                 )
                                                 ) JUDGE FALLON
9                                                ) MAG. JUDGE NORTH
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13   THIS DOCUMENT RELATES TO:
14   Walter Bleiler v. Janssen Research
15   & Development LLC, et al.;
16   No. 2:17-cv-00327-EEF-MBN
17                                         ORDER
18          This matter came before the Court on the Motion to Voluntarily Dismiss
19   Without Prejudice, or, in the alternative, Extend Time to Affect Service, filed by
20   Plaintiff.
21          [     ] IT IS ORDERED BY THE COURT that the Motion to Voluntarily
22   Dismiss Without Prejudice filed by Plaintiff David Branch is GRANTED, and
23   Defendants Janssen Ortho LLC, Johnson and Johnson, Bayer Pharma AG, Bayer
24   Healthcare AG, Bayer AG, Bayer Healthcare Pharmaceuticals, Inc., are
25   DISMISSED, WITHOUT PREJUDICE, with each party to their own costs.
26          [     ] IT IS ORDERED BY THE COURT that Plaintiff’s time to serve
27   Defendants Janssen Ortho LLC, Johnson and Johnson, Bayer Pharma AG, Bayer
28




                                        Order to Dismiss - 1
       Case 2:14-md-02592-EEF-MBN Document 11357-2 Filed 10/30/18 Page 2 of 2




1    Healthcare AG, Bayer AG, and Bayer Healthcare Pharmaceuticals, Inc., is
2    extended by 60 days.
3          New Orleans, Louisiana, this ___ day of _________, 2018.
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                                            Hon Eldon E. Fallon
                                            United States District Court Judge
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                                      Order to Dismiss - 2
